                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                  (Northern Division)


 BALTIMORE COUNTY BRANCH OF THE
 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE, et al.,

                               Plaintiffs,
                                                              Civil Action No. LKG-21-03232
 v.

 BALTIMORE COUNTY, MARYLAND, et al.,

                               Defendants.


                PLAINTIFFS’ STATUS REPORT PURSUANT TO ECF 59

        Pursuant to the Court’s March 9, 2022, Order directing Plaintiffs to file “a status report

stating their views on whether the County’s proposed map complies with Section 2 of the Voting

Rights Act” (ECF 59), Plaintiffs explain below why the County’s new proposed map fails to

comply with Section 2 for many of the same reasons as the enjoined map. In particular, the

proposed map includes neither “two reasonably compact majority-Black Districts” nor “an

additional County District in which Black voters otherwise have an opportunity to elect a

representative of their choice . . .” as required by the Court’s February 22, 2022, Order. ECF 55.

       The proposed map indisputably fails to include two majority-Black districts: Not only do

Black voters comprise a minority of the newly-drawn District 2, they do not even comprise a

plurality. As discussed in the Declaration of William Cooper (Ex. A), District 2’s white citizen

voting age population is 52.1% while the Black citizen voting age population is 41.7%. And as

discussed below and in the attached expert analysis of Matthew Barreto (Ex. B), the proposed map

still fails to remedy the deprivation of Black citizens’ right to have “an equal opportunity to
participate in the political processes and to elect candidates of their choice.” Thornburg v. Gingles,

478 U.S. 30, 44 (1986) (quoting S. Rep. No. 97-417, at 28 (1982)).

I.      THE COUNTY’S NEW MAP UNLAWFULLY DILUTES THE BLACK VOTE
        A.     Binding and long-standing Section 2 law should be applied to the new map in
               the same manner as it was applied to the enjoined map.
        1.     The legal standards under Section 2 are undisputed and were applied by the Court

in its February 22, 2022, Memorandum Opinion and Order:

        To prevail in a Section 2 case, plaintiffs must show: (1) the minority group is
        “sufficiently large and geographically compact to constitute a majority in a single-
        member district;” (2) the minority group “is politically cohesive;” and (3) “the
        white majority votes sufficiently as a bloc to enable it . . . usually to defeat the
        minority’s preferred candidate.” Thornburg v. Gingles, 478 U.S. 30, 50-51 (1986).
        If plaintiffs are successful in establishing the Gingles preconditions, the Court will
        also consider “the totality of the circumstances”—including the factors identified
        in the Senate Report accompanying the 1982 amendments to the Voting Rights
        Act—to determine whether, as a result of the districts, “the political processes
        leading to nomination or election in the State or political subdivision are not equally
        open to participation” by members of the minority group. Id. at 36 (quoting 52
        U.S.C. § 10301(b)).

ECF 55 at 8.

        2.     The Court found Plaintiffs had shown a strong likelihood of success on the merits

when measured against these standards:

        [P]laintiffs have shown that they have a substantial likelihood of success on the
        merits of their Section 2 claim, because they can demonstrate that: (1) the group of
        Black County voters located on the western side of the County is sufficiently large
        and geographically compact to create more than one reasonably compact majority-
        Black district; (2) the group of Black County voters “is politically cohesive;” (3)
        the White majority in the County votes sufficiently as a bloc to enable it usually to
        defeat the minority’s preferred candidates; and (4) the totality of the circumstances,
        including the factors that the Supreme Court has instructed the Court to consider,
        show that Black County voters have less opportunity than White County voters to
        elect candidates of their choice to the Council.

Id. at 9-10.

        3.     The County’s latest proposed redistricting map fails this Section 2 analysis for the

same reasons as its prior map. Measured against the same standards and in light of the same
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evidence, the County’s new proposed map again fails to overcome Plaintiffs’ proof of vote dilution

through the three Gingles preconditions. In particular:

            •   Nothing about the newly proposed map has changed the County’s demographics or
                voting history.
            •   Black voters in Baltimore County are sufficiently large and geographically compact
                to constitute a majority in two single-member districts. See ECF 55 at 10-13.
            •   Black voters are politically cohesive in the County. Id at 13-16.
            •   Data confirm that white-bloc voting in the County is routinely effective in defeating
                minority preferred candidates. Id. at 16-18.
            •   The “totality of the circumstances” in Baltimore County also have not changed. Id.
                at 18-21.

       4.       The County’s proposed map continues to “pack” a large number of Black voters

into a single district (District 4), which now would be 64.1% Black in voting-age population, and

66.0% Black in general population. Cooper Decl. ¶ 4. The remaining six districts retain a majority

of white citizen voting age population. Id. and Ex. 1 thereto. And the County’s proposed map

achieves this result by continuing to “crack” majority-Black communities, including Woodlawn,

Milford Mill, Randallstown, and Owings Mills. Cooper Decl. ¶ 5. Thus, on the identical basis

articulated in the Court’s prior decision, the County’s latest councilmanic map (once again limited

to a single majority-Black district) violates Section 2.

       B.       The County’s new map does not present Black voters with a fair and realistic
                opportunity to elect candidates of their choice.

       5.       With its proposed map, the County has asserted that it can comply with Section 2

by increasing the Black citizen voting age population in District 2 from 31.2% to 41.7%, and by

reducing the white citizen voting age population from 55.5% to 52.1%. Cooper Decl. ¶ 2. This

amounts to making the violation of Section 2 a little less egregious but not curing it, then asking

the Court to overlook the violation because it’s not as bad as the violation originally proposed.

There is no legal authority for such an approach.




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       6.      The County presents no statistical or other analysis that the newly configured

District 2 will present Black voters with “an opportunity to elect a representative of their choice.”

In particular, the County has not presented any performance data demonstrating that the new

district would allow Black voters in the district to successfully form coalitions to successfully elect

candidates of their choice. To the contrary, the racial polarization and white-bloc voting that exists

in Baltimore County indicates that even a marginal numerical advantage of eligible white voters

over Black voters would allow white-bloc voting to defeat Black-preferred candidates in District

2. Even if this were not so, however, it is not enough to look at demographics alone, particularly

when assessing the fairness of a non-majority Black district. Careful, expert analysis must explore

whether the County’s new plan performs for Black voters, i.e., whether the amalgamation of

precincts rearranged into District 2 will vote to elect Black voters’ candidates of choice.1

       7.       Plaintiffs’ expert Dr. Barreto conducted a performance analysis of the newly

proposed District 2 by taking the shapefiles of the new map, extracting the demographic and voting

history, and running an analysis to see how the new districts would perform (i.e., how they would

vote) across the elections featuring Black candidates of choice. Here is a summary of his findings:




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         Dr. Gimpel’s report includes no such analysis. Ignoring the Court’s findings with respect
to the illegality of the County’s prior map, it concludes, without presenting any statistical analysis
or other evidence, that District 2 “would become an even stronger crossover or coalition district in
which Black voters could elect their candidates of choice, including Black candidates, with
crossover support from both other minority voters and White voters.” ECF 57-6 ¶ 3.
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           Table 1: Performance analysis of elections with Black-preferred candidates

                                D1                  D2              D4
                Hogan           55.0%               45.0%           32.5%
                Brown           42.4%               53.3%           65.8%


                Van Hollen      51.6%               57.2%           36.9%
                Edwards         39.4%               37.4%           57.0%


                Hogan           54.6%               50.2%           36.3%
                Jealous         44.1%               49.0%           62.7%


Barreto Decl. at ¶ 7 .

       8.       As the data establishes, the new proposed District 2 is not “an additional County

District in which Black voters otherwise have an opportunity to elect a representative of their

choice.”     As explained by Dr. Barreto’s previous analysis and testimony, Black voters

overwhelmingly preferred Anthony Brown over Larry Hogan, Donna Edwards over Chris Van

Hollen, and Ben Jealous over Larry Hogan. But as currently configured under the County’s new

proposed map, only Mr. Brown would have won in District 2. White bloc voting would have

prevented Black voters from electing their candidate of choice in two of those three elections.

       9.       Plaintiffs do not deny that elections under the new proposed plan would be more

competitive than under the County’s initial, enjoined plan, because some Black voters were shifted

from District 4 to District 2. But that is not enough. The data show that Black voters would still

frequently be denied the opportunity to elect a representative of their choice, sometimes badly.

See Gingles, 478 U.S. at 76 (“The relative lack of minority electoral success under a challenged

plan, when compared with the success that would be predicted under the measure of undiluted

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minority voting strength the court is employing, can constitute powerful evidence of vote

dilution”). In other words, the County went from an egregious plan, where the County’s white

population (52% of the total County population) controlled 86% of council districts, to a slightly

less egregious plan where the same white population still controls 86% of council districts.

       10.     Contrary to Baltimore County’s argument (ECF 57-1 at 8-9), Plaintiffs properly

emphasize the three elections featuring Black candidates as especially probative in the Section 2

analysis. Lewis did not reject reliance on Black-white elections in determining whether a proposed

election district would perform for Black voters. In that case, the Fourth Circuit criticized the

district court for refusing even to consider white vs. white elections, but it found that mistake to

be harmless error and affirmed the district court’s findings. Lewis v. Alamance County, N.C., 99

F.3d 600, 606 (4th Cir. 1996). Here, both Plaintiffs and the Court considered elections involving

only white candidates,2 but, as Dr. Barreto testified, Black-white elections are more probative in

assessing whether Gingles preconditions 2 and 3 have been met.3


       C.      The County’s “crossover” district is not new, nor does it cure the Section 2
               violation.

       11.     The County argues that it complies with this Court’s order “to create an additional

district that affords Black voters an ‘opportunity to elect a representative of their choice….’” ECF


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        See Barreto Reply Decl., ECF 39-1 ¶¶ 15-17 & Fig. 1 (showing strong racial polarization
in voting even in white v. white elections); ECF 53 at 29 (slide of Plaintiffs’ preliminary injunction
hearing presentation showing strong racial polarization in voting even in white v. white elections).
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        Dr. Barreto’s approach is consistent with how courts weigh relative value of Black-white
and white-white elections, following the Supreme Court’s lead in Gingles. See, e.g., U.S. v.
Charleston County, S.C., 365 F.3d 341, 350 (4th Cir. 2004) (recognizing that election contests
between Black and white candidates are most probative of racially polarized voting); LULAC v.
Clements, 999 F.2d 831, 864 (5th Cir. 1993) (“This court has consistently held that elections
between white candidates are generally less probative in examining the success of minority-
preferred candidates, generally on grounds that such elections do not provide minority voters with
the choice of a minority candidate.”) (collecting cases).
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57-1 at 3. It bears emphasis that the County concedes that District 2, which it proposes as a

crossover district, “was already a crossover district” in its earlier district map. ECF 57-1 at 6. The

earlier map did not comply with the Voting Rights Act; the minor changes the County has proposed

to District 2 do not bring it into compliance. Moreover, the County’s argument as to the

permissibility of crossover districts distorts and misapplies the law. Here, the County’s proposed

crossover district is not an acceptable or legal alternative to a second majority-Black council

district under the circumstances present in this case.

       12.     While the Supreme Court has recognized that, in some settings, legislatures may

employ crossover districts without a majority-minority population in order to improve the

prospects that minority voters can elect candidates of their choice, that approach is valid only

where the third Gingles precondition is not established, i.e., where white-bloc voting does not work

to defeat Black candidates. Thus, the Supreme Court has explained that, while a crossover district

might be used to address concerns like those to which Section 2 responds, the issue is whether

there is a demonstration of “effective white-bloc voting.” Cooper v. Harris, 137 S. Ct. 1455, 1472

(2017). If not, then the third Gingles precondition will not be established “and so ‘majority-

minority districts would not be required,’” and a crossover district could suffice. Id. The Court in

Cooper thus found that racial considerations in district line drawing did not withstand strict

scrutiny because the legislature made a legally incorrect assumption that a majority-minority

district was required where there was no evidence of “effective white-bloc voting” in districts

created without race-based considerations (i.e., districts that were not majority-minority). Id.

       13.     Here, however, this Court recognized that “Plaintiffs have similarly shown a

substantial likelihood of satisfying Gingles precondition three—that the White majority in the

County votes sufficiently as a bloc to enable it usually to defeat the minority’s preferred



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candidate.” ECF 55 at 16. The Court reviewed Plaintiffs’ evidence in detail, noting that it was

“essentially unrebutted by defendants.”       Id. at 17.    Under these circumstances, Section 2

compliance cannot be achieved merely by minor adjustments to district lines that purport to

increase the potential viability of one district as a “crossover” district where white and Black voters

could potentially join forces to elect Black-preferred candidates.

       14.     To support its position, the County misreads and misapplies a number of Supreme

Court decisions, most importantly the decision in Bartlett v. Strickland, 556 U.S. 1 (2009). In

Strickland, the question was whether a proposed district could be treated as “effectively” a

majority-minority district, for purposes of applying the first Gingles precondition, by combining

less than a majority of Black voters with white voters who could be persuaded to cross over and

join with them to elect the minority population’s candidate of choice. The Court rejected that

argument, ruling that Section 2 is not designed to promote district line drawing “for the purposes

of forging an advantageous political alliance.” Id. at 14-15 (quoting Hall v. Virginia, 385 F.3d 421,

431 (4th Cir 2004)). Strickland’s exclusive holding is that Section 2 cannot be invoked to require

creation of a crossover district. The Supreme Court has never held that a Section 2 violation can

be cured by using racially-based district line drawing to create a crossover district.

       15.     The County’s argument turns the teachings of Strickland on their head. There, the

Court warned against trying to assess whether racial considerations could be used to design a

crossover district where minority voters would have sufficient white voter support to elect their

preferred candidates. The Court viewed such an undertaking as not only problematic in terms of

predicting electoral outcomes, but contrary to Constitutional limits on race-based districting.

Those limits are overcome under the Voting Rights Act’s straightforward demographic assessment




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of the minority population’s size and compactness. It was just such concerns that led the Court to

reject any requirement for crossover districts under Section 2:

       We find support for the majority-minority requirement in the need for workable
       standards and sound judicial and legislative administration. The rule draws clear
       lines for courts and legislatures alike. The same cannot be said of a less exacting
       standard that would mandate crossover districts under § 2. Determining whether a
       § 2 claim would lie —i.e., determining whether potential districts could function as
       crossover districts—would place courts in the untenable position of predicting
       many political variables and tying them to race-based assumptions. The Judiciary
       would be directed to make predictions or adopt premises that even experienced
       polling analysts and political experts could not assess with certainty, particularly
       over the long term. For example, courts would be required to pursue these inquiries:
       What percentage of white voters supported minority-preferred candidates in the
       past? How reliable would the crossover votes be in future elections? What types of
       candidates have white and minority voters supported together in the past and will
       those trends continue? Were past crossover votes based on incumbency and did that
       depend on race? What are the historical turnout rates among white and minority
       voters and will they stay the same? Those questions are speculative, and the
       answers (if they could be supposed) would prove elusive. A requirement to draw
       election districts on answers to these and like inquiries ought not to be inferred from
       the text or purpose of § 2. Though courts are capable of making refined and exacting
       factual inquiries, they “are inherently ill-equipped” to “make decisions based on
       highly political judgments” of the sort that crossover-district claims would require.
       Holder, 512 U.S., at 894, 114 S.Ct. 2581 THOMAS, J., concurring in judgment).
       There is an underlying principle of fundamental importance: We must be most
       cautious before interpreting a statute to require courts to make inquiries based on
       racial classifications and race-based predictions. The statutory mandate petitioners
       urge us to find in § 2 raises serious constitutional questions.

556 U.S. at 17.

       16.     Identical considerations dictate that the County’s proposed crossover district be

rejected as a remedy for the County’s initial enactment of a redistricting plan that violated the

Voting Rights Act. The County’s arguments (based on nothing more than Dr. Gimpel’s data-free

speculation) that its modifications to the racial make-up of District 2 will provide Black voters

sufficient electoral opportunity, provided they can attract enough crossover white voters, has no

grounding in the Voting Rights Act’s text or the precedents interpreting it. Read correctly,

Supreme Court precedent establishes that a second majority-Black district is the appropriate cure

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to the Section 2 violation here, in light of demonstrated white-bloc voting patterns in the County

that satisfy the third Gingles precondition.4

       17.     The County notably quotes from the dissenting opinion in Strickland, but this

Court’s February 22 Opinion and Order instead cited Justice Thomas’ more instructive

concurrence.5 The guidance from that opinion does not indicate that a new or improved crossover

district will cure the Section 2 issues here. To the contrary, Justice Thomas observed that “[t]he

special significance, in the democratic process, of a majority means it is a special wrong when a

minority group has 50 percent or more of the voting population and could constitute a compact

voting majority but, despite racially polarized bloc voting, that group is not put into a district.”

Id. at 19 (emphasis added). Although the County correctly quotes his observation that crossover

districts can coexist with Section 2 (ECF 57-1 at 6), the County omits the most critical limitation

on this practice in the Section 2 context:

       States that wish to draw crossover districts are free to do so where no other
       prohibition exists. Majority-minority districts are only required if all three Gingles
       factors are met and if § 2 applies based on a totality of the circumstances. In areas
       with substantial crossover voting it is unlikely that the plaintiffs would be able to
       establish the third Gingles precondition—bloc voting by majority voters. In those
       areas majority-minority districts would not be required in the first place; and in the
       exercise of lawful discretion States could draw crossover districts as they deemed
       appropriate.




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       The County also cites Voinovich v. Quilter, 507 U.S. 146, 154 (1993) as endorsing the
“safe” majority-Black district 4. ECF 57-1 at 3. While that case surely recognizes that majority-
Black districts are appropriate in response to Section 2 claims, the Supreme Court has noted that
“in Voinovich, the Court stated that the first Gingles requirement ‘would have to be modified or
eliminated’ to allow crossover-district claims.” 556 U.S. at 15 (quoting Voinovich, 507 U.S., at
158.)
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        The County claims that the February 22 Opinion and Order “clearly authorized the County
to create a crossover district.” ECF 57-1 at 8. Actually, the Court merely cited to and quoted from
Supreme Court precedents, none of which stand for the proposition that a crossover district will
overcome a Section 2 violation.
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555 U.S. at 24 (emphasis added). As this Court has found, the evidence here demonstrates that all

three Gingles factors (including the third precondition) are met and Section 2 applies based on a

totality of the circumstances, making a second majority-Black district the appropriate remedy.

        18.     In Baltimore County, the evidence establishes that the third Gingles precondition

is satisfied, i.e., that white-bloc voting precludes a mere crossover district as an effective means to

comply with Section 2. Indeed, the County contends that District 2, which it proposes as a

crossover district to cure Section 2 concerns, “was already a crossover district” in its earlier district

map. ECF 57-1 at 6. The County’s approach of simply making it a “better” crossover district does

not eliminate the Section 2 violation.

        D.      Requiring a second majority-Black district does not implicate the Equal
                Protection Clause.

        19.     The County’s suggestion that requiring a second majority-Black council district

raises Equal Protection concerns similarly distorts controlling precedent. The County cites

Johnson v. De Grandy, 512 U.S. 997 (1994), as warning against reading Section 2 as requiring the

“maximum” possible number of majority-Black districts, but that is not what Plaintiffs advocate

(nor what this Court directed). Instead, the issue here is whether, applying the Gingles criteria, a

second majority-Black district is necessary to avoid a Section 2 violation. A second such district

would be proportional to the county’s Black population, which the De Grandy decision recognized

as an appropriate consideration when assessing minority vote dilution. 512 U.S. at 1000, 1014-

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       Similarly unavailing are the County’s references to Shaw v. Hunt, 517 U.S. 899 (1996),
and Miller v. Johnson, 515 U.S. 900 (1995), with allusions to constitutional Equal Protection
concerns about racial considerations when drawing district lines. ECF 57-1 at 8. Voting Rights
Act compliance has been long recognized as a sufficiently compelling interest to permit racial
considerations when defining legislative voting districts, provided legal requirements are followed.
See e.g. Bush v. Vera, 517 U.S. 952, 977 (1996) (compliance with VRA Section 2 considered a
compelling state interest overcoming equal protection concerns).
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       E.      The new map does not get a free pass because it is the County’s second bite at
               the apple or because it has delayed curing its Section 2 violation.

       20.     This Court has found a likely violation. The proposed remedy has to actually cure

the violation. If it does not cure the violation, then it is not an adequate remedy, and should be

rejected.

       21.     In McGhee v. Granville Cnty., N.C., the Fourth Circuit considered what to do when

a legislative body was given an opportunity to devise an acceptable remedial plan:

       If the legislative body fails to respond or responds with a legally unacceptable
       remedy, “the responsibility falls on the District Court,” Chapman v. Meier, 420
       U.S. 1, 27, 95 S.Ct. 751, 766, 42 L.Ed.2d 766 (1975) (reapportionment case) to
       exercise its discretion in fashioning a “near optimal” plan. Seastrunk v. Burns, 772
       F.2d 143, 151 (5th Cir.1985) (same).

860 F.2d 110, 115 (4th Cir. 1988). The path here is clear: the County has presented a legally

unacceptable remedy and this Court should exercise its discretion to adopt a plan that fully

remedies the violation.

       22.     As has been clear for months, and as demonstrated by Plaintiffs’ proposed

alternative maps 1 and 5, it is not difficult to draw a map that includes either “two reasonably

compact majority-Black Districts” or “an additional County District in which Black voters

otherwise have an opportunity to elect a representative of their choice.” Now, with the assistance

of their nationally renowned expert in demography, Plaintiffs are introducing an additional

alternative that complies with the Voting Rights Act and accounts for the boundaries in the

County’s proposed new map. Cooper Decl. ¶ 7. By taking the County’s new map and shifting a

few precincts between Districts 4 and 2, this slightly revised version of the County’s proposal

demonstrates how readily the County could comply with the Voting Rights Act while still

maintaining some discretion over how the boundaries are drawn. (It took Mr. Cooper an afternoon

to complete Plaintiffs’ new proposed alternative.) Given the County’s legally unacceptable


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remedial plan, “the responsibility falls on the District Court to exercise its discretion in fashioning

a near-optimal plan.” McGhee, 860 F.2d at 115 (cleaned up). Plaintiffs have provided multiple

examples to assist the Court in that responsibility.

       23.     Finally, Baltimore County’s pleas about how the Court must immediately act to

accept its plan contrasts with its unhurried response to the Court’s preliminary injunction. If

Baltimore County wanted more time for its county council to effectuate whatever procedural steps

it must, the new proposed map would not have been filed at the literal eleventh hour. The County

provides no explanation for why the new proposed map, and the data and shapefiles necessary to

analyze it, could not have been provided earlier. Yet, Baltimore County waited until 11:00 pm on

the evening of March 8, 2022, to submit its new proposed map despite having had it available well

in advance. Given this conduct, the County cannot equitably claim that the Court has no choice

but to disregard the proper analysis under the Voting Rights Act because an emergency legislative

session must be initiated immediately to adopt another illegal map. Plaintiffs do not want any

disruption to the election deadlines currently in place; that is why we proposed alternative maps

during the pre-suit redistricting process, filed suit the day after the now-enjoined map was adopted,

filed a motion for preliminary injunction the afternoon leave was granted, and conducted expert

analysis on the barely-improved new map within 36 hours of its filing. If timing is an issue, then

it is a product of Baltimore County’s dilatory tactics, which seem calculated to foreclose judicial

review of its unlawful redistricting.


II.    THE COURT SHOULD ORDER THAT THE UPCOMING COUNCILMANIC
       ELECTION BE CONDUCTED UNDER PLAINTIFFS’ PROPOSED PLAN 1,
       PLAN 5, OR THE PLAN SUBMITTED WITH THIS STATUS REPORT


       24.     As the Court knows, March 22 is the deadline for candidates to file to run in the

June 28, 2022, primary election. To give candidates time to determine whether they wish to run in

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the districts established for this election, a final map should be in place by March 15 (unless the

County moves the filing date).

       25.     Accordingly, this Court has the responsibility to fashion a new map that complies

with the Voting Rights Act. See McGhee v. Granville Cnty., 860 F.2d 110, 115 (4th Cir. 1988),

supra at ¶ 21. In order that the 2022 County Council election may be conducted under a map that

complies with the Voting Rights Act, the Court should order that either Plaintiffs’ Plan 1, Plan 5,

or the plan submitted with this status report, or such other map as the Court deems appropriate, be

used by the County for the 2022 election.


                                      Respectfully submitted,

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